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. Appendix |
Oe Fieldwork documents
(a) Physicians

ue (b} Nurses
- (c) Patients

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Appendix |

(a) Physicians ®

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Version 2 (Final) oe Re No a Sena ns

INTERNATIONAL HEALTH SURVEYS, LUDGATE HOUSE, 245 BLACKFRIARS ROAD, LONDON SEi SUL

RECOMBINANT FVIM POSITIONING STUDY
PHYSICIAN SCREENING QUESTIONNAIRE

Phystcran name
Centre name
Address ew nee we ween wee oe we oe

(please print) wees ee ee meek

Telephone No

INTRODUCTION

GOOD MORNING/AFTERNOON MY NAME IS _ FROM INTERNATIONAL HEAL~H
SURVEYS, AN INDEPENDENT MARKET RESEARCH AGENCY BASED IN LONDON, WHICH SPECIALISES IN
CONDUCTING SURVEYS AMONG MEMBERS OF THE MEDICAL PROFESSION AND PATIENTS

WE ARE CURRENTLY CONDUCTING AN INTERNATIONAL STUDY W T4 DOCTORS, NURSES AND PATIENTS
ON THE SUBJECT OF HAEMOPHILIA A.

THE INTERVIEW WILL LAST UP TO 45 MINUTES THE JNFORMATIO J YOU PROVIDE WILL BE COMBINED
WITH THAT OF YOUR COLLEAGUES NEITHER YOUR IDENTIFY NOR THAT OF YOUR HOSPITAL WILL BE
REVEALED TO ANY THIRD PARTY STRICT CONFIDENTIALITY IS ASS JRED

WOULD YOU BE WILLING TO TAKE PART IN OUR SURVEY?

COULD | FIRST ASK YOU A FEW QUESTIONS TO ASSESS YOUR ELIGI3iLITY FOR THIS SURVEY

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Qi | Do you work av/are you affiliated with a specialis/comprehensive (12)
haemophiha treatment centre?
Yes i CONTINUE
~ No] 2 | THANKAND |
Dor'tknow|  V CLOSE
Q2 | Do you specialise in the treatment of haemophiha/bleeding disorders” (13)
, Yes 1 CONTINUE
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Q3_ | Are you involved specifically in the treatment of haemophilia A? (14)
Yes 1 CONTINUE
No 2 THANK AND
Don't know Vv CLOSE
Q4 | Do you currently prescnbe recombinant Factor Vill products in the (15)
treatment of haemophilia A?
Yes 1 RECRUIT
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No 2 THANK AND
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Q5 | ASKIN EUROPE ONLY |
Approximately how many haemophilia A patents do you currently treat?
(16) (17) ~—(18)
[| | | (19)
Don't know Vv
RECRUIT IF 5 OR MORE, OTHERWISE THANK AND CLOSE

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Northem & Yorkshire 1 Non teaching 2
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South Thames 8
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RESPONDENT SIGNATURE FOR FEE.

INTERVIEWER SIGNATURE

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THIS INTERVIEW HAS BEEN CONDUCTED WITHIN THE TERMS OUTLINEL BYTHE MRS CODE OF CONDUCT

Page 1 of 10

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Q1_| Approximately how many haemophila patients in total (1 e A and B) are |
treated at this centre? . |
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Q2_ | NOT TO BE ASKED IN EUROPE
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Q3_ | Of the total number of haemophika patients, what percentage have haemophilia A
and what percentage have haemophika B? |
{) Haemophilia A
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ll) HaemophiaB
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Don’t know Vv ©
RESPONDENT MUST HAVE HAEMOPHILIA A PATIENTS (SEE
SCREENER)
ENSURE TOTAL EQUALS 100%
EXPLAIN TO THE RESPONDENT THAT THE REST OF THE
QUESTIONNAIRE CONCENTRATES EXCLUSIVELY ON HAEMOPHILIA A

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Question / Answer

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percentage are paediaincs?
i) Adults
(29) (30) _~—s (31) (82)
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Don't know Vv
i) Paedatnes |
(33) — 4) 5) (36)
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ENSURE TOTAL EQUALS 100% |
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Q6 | Thinking of all your haemophiha A patients, what percentage currently use
recombinant Factor Vill products and what percentage use human plasm a denved
Factor VIH poducts?
) Recombinant
(48) &) 61)
} | (2)
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7} Human plasma
(63) 64) (65) (86)
| | | 1% None °
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RESPONDENT MUST HAVE PATIENTS ON RECOMBINANT PRODUCTS
(SEE SCREE NER)
ENSURE TOTAL EQUALS NUMBER 100%
Page 3 of 10

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Which specific brands of Factor VIH products do you currently prescnbe in your
patients (both recombinant and human plasma derived products)?

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Recombinate
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Human plasma
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Benate

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Hemofil M

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Koate DVI

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xo

COLUMNS (16)-(76) BLANK

Page=s 10

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nt eet
No Quesbon / Answer Code Skip to
Q8 | What factors influence the choice of Factor VIII treatment for haemophilia A
patents?
PROBE FULLY (12)
Recombinant vs human plas na-denved 1
Well-established/stancard product 2
Albumin/pro e'n content 3
Efficacy/res .0nse rates 4
Duration of effect/nalf Ife 5 .
Speed of resp anse/effect 6
Safety (u specified) 7 }
Lack of advers3 reactions 8 '
Lack of alburir reaction 9 I
Lack of (viral) cortamination oO
Lack of immunity/resistance/lack of inhibitor de velopment xX
Range of potencie:/vial sizes Vv
(13)
Diluentinfusion volume 1
Storage (refngeration vs room ter iperature) 2
Shelf-life 3
Supply/e vailability 4
Delivery to patient's home 5 |
Manufacturer (e g reputation/involvement in bae mophilia) 6
(Good) relationship with the manufacturer 7
Ease of rect nstitution 8 {
Speed of reccnstitution 9 |
Ease of adm nistration 0
Cost xX
(14)
(15)
(16)
(17)
Other (please specify) x
~ Der't know Vv
Page 5 of 1¢

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No Question / Answer Coae Scc >!
Q9_ | How sabsfied are you with the currently available recombinant Factor Vill
products? Would you say you were
SHOW CARD 1 (ia)!
- Very dissatisfied 1 ©
Faurly dissatisfied 2
Neither satisfied nor dissatisfied 3
Fairly satisfied é
Very satisfied 5
Don't know Vv 1
Qi0 | What improvements would you like to see made to recombinant Factor Vill
products? (19)
PROBE FULLY . Reduced use of albumin/protein 1
improved efficacy/response 2
Longer lasting effect/longer half-hfe 3 |
Improved speed of response/efrect 4
Improved safety (unspecified) 5 '
Fewer adverse reactions 6 '
Reduced/no albumin reaction 7
Reduced/no (viral) contamination 8
Reduced immunty/resistance/inhibitor development 3
Higher potencies/larger vial sizes 0 '
Zo
Reduced volume of diluent/infusio" * @
Indication for continuous infusion Z
improved storage (refngeration not required) 3
Longer shelf-life é
Improved supply/availabiity 5
Clearer storage instructions 8
improved packagino/ess wastage of ancillary products 7
, improved/easier reconstitution 8 ,
Faster reconstitution 9
Improved/easier administration 3
Reduced ccst X
2";
(22} | 23
(24) ‘
Other (please specify) xX
~ Don't know v @
Pages $21 °C

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No

Question / Answer

Skip to

HAND DOCTOR SHOW CARD A

THIS CARD LISTS SEVERAL FEATURES ON WHICH FOTENTIAL NEW
RECOMBINANT PRODUCTS FOR HAEMOPHILIA A MIGHT CIFFER PLEASE
TAKE A FEW MINUTES TO READ OVER THE FEATURES ANC THEIR VARIOUS

LEVELS, AS THIS INFORMATION WILL MAKE THE FOLLOWING EXERCISE

RUN MORE SMOOTHLY
ALLOW RESPONDENT TIME TO READ ALL INFORMATION ON THE CARD

! HAVE HERE 32 CARDS, EACH DESCRIBING A POTENTIAL RECOMBINANT
FACTOR Vill PRODUCT WITH A UNIQUE COMBINATION OF FEATURES NO
TWO CARDS ARE EXACTLY THE SAME FOR THE PUFPOSE OF THIS
EXERCISE, PLEASE IMAGINE THAT THESE 32 POTENTIAL PRODUCTS ARE
THE ONLY ONES AVAILABLE FOR THE TREATMENT OF HAEN OPHILIA A

HAND DOCTOR SHUFFLED CARDS

CONSIDERING YOUR PATIENTS WITH HAEMOPHILIA A, PLEASE SORT
THESE 32 POTENTIAL PRODUCTS INTO 3_PILES ACCORDING TO YOUR
LIKELIHOOD TO PRESCRIBE THEM ONE PILE SHOULD CONTAIN THOSE
PRODUCTS THAT YOU WOULD BE MOST LIKELY TO LSI:, ONE THOSE
PRODUCTS THAT YOU MIGHT CONSIDER USING ANC ONE THOSE
PRODUC”S THAT YOU WOULD BE LEAST LIKELY TO USE ‘OU CAN HAVE
ANY NUMBER OF CARDS IN EACH OF THE 3 PILES

ASSUME [THESE PRODUCTS ARE EQUAL ON ANY FEATURES THAT ARE NOT

INCLUDED ON THE CARDS

THIS IS A VERY IMPORTANT PART OF THE STUDY PLEASE TAKE YOUR
TIME AS WE REALISE THIS TASK REQUIRES CAREFUL CONSIDERATION

WAIT UNTIL THE DOCTOR HAS SORTED ALL THE CARDS INTO THREE
PILES, THEN CONTINUE ,

1 WOULD NOW LIKE YOU TO RANK THESE 32 CARDS FROM TOP TO
BOTTOM, STARTING WITH THE PRODUCT YOU ARE MOST LIKELY TO
PRESCRIBE FOR HAEMOPHILIA A ON THE TOP, THROUGH TO THE
PRODUCT YOU ARE LEAST LIKELY TO PRESCRIBE ON THE BOTTOM

PLEASE BEGIN BY RANKING THESE PRODUCTS IN THE “MOST LIKELY” PILE

AFTER “MOST LIKELY” PILE IS RANKED, ASK THE DOCTOR fO CONTINUE
WITH THE PILE OF PRODUCTS HE/SHE “MIGHT PRESCRISI2” AND THEN
FINALLY RANK THE “LEAST LIKELY” PILE

ONCE THE DOCTOR HAS FINISHED SAY:

PLEASE READ OUT THE NUMBERS OF THE CARDS IN THE ORDER YOU
HAVE ARRANGED THEM THE FIRST NUMBER YOU READ OUT SHOULD BE
THE PRODUCT YOU ARE MOST LIKELY TO PRESCRIBE AND THE LAST
NUMBER YOU- READ OUT SHOULD BE THE PRODUCT YOL ARE LEAST
LIKELY TO PRESCRIBE

RECORD RESPONSES ON NEXT PAGE

Code

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(HY2) 1 ‘3.4

O6 REDEs~
WRITE IN EACH NUMBER IN THE APPROPRIATE COLUMN BELOW
PRODUCT CARD PRODUCT
RANK NUMBER RANK CARD NUMBER
(12) = (13) (44) (45) ©
4 (MOST LIKELY) 17 | '
(14) (15) _ (46) (47
2 18 |
(16) (17) _ (48) (498
3 19 | |
(18) (19) 60) 1)
4 20 |
(20) (21) (52) (63)
5 21
(22) (23) (64) = (65)
6 22 |
(24) = (25) (66) 57
7 23
crs
@e)__7) _Ga)_ 58
8 24 {
(28) __ (29) 60) (Et,
9 95 6
(30) (81) (62) (63)
10 26 | '
(32) _ (33) (64) 85)
11 27 '
(34) (35) (66) {87}
12 28 '
(36) = (87) (68) (69)
13 23 |
(38) = (89) (70) 71
14 30 .
(40) —(41) (72) 73)
15 31 |
42) (4) (74) (75)
16: 32 (LEAST LIKELY) | '
PageBs 19

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O72) | B71) 7]
07 REPEAT
No Queston / Answer Code Skip to
Q11_ | Considenng the potential product that you ranked as the one you w ould be
most interested tn using, what are your reasons for ranking tt first? }
i PROBE FULLY '
@ 2
!
(13) |
{
(14)
{
Q12 | Considenng the potential product that you ranked as the one you wo Jid be |
most likely to use, how interested would you be in using st in the hae nopmha
A patents treatec at this centre? Would you say you were |
SHOW CARD 2 (15) '
Not at all nterested 1
Not very nterested 2
Nether interested nor dis n’erested 3
Fairly terested 4
Very interested 5
Don't know Vv
Q13 { Considenng the potential product that you ranked as the one you would be
most likely to use, would you be willing to advocate paying a pnce premium
@ for that product? (16)
Yes 1 Q14
No ‘2 . THANK
: AND
Dcn't know Vv CLOSE
Q14_| What percentage pnce increase over currently available recombinant prociucts
would you consider to be acceptable?
(a7) 18) 19) (20)
| | | | % Depends X __ O15
enter percentage Dcn't know V THANK
) GO TO Q16 IF ‘DEPENDS’, OTHERWISE THANK AND CLOSE AND
CLOSE
Page 9 of 10

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Case T01-cv-12257-PBS. Document 6366.19, ilechO1i27/ 10. Jitof125-- —-
No Question / Answer Code Sks-o |
Qi5 | On what would the acceptable level of pnca increase depend?

PROBE FULLY
(21)
(22)
(23)
THANK AND CLOSE .

= t% aed
Page “Scr 70

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Version 3 (rinal) {02 { os9s | 8 Jf TT
23” November 1999 cc V No USA Senal Phys
J. RECKNER ASSOCITES ~ 99-1 531
RECOMBINANT FACTOR Vill POSITIONING STUDY
x PHYSICIAN QUESTIONNAIRE -LSA
a , PHYSICIAN NAME (PRINT)
CENTRE NAME oe . (PRINT)
ADDRESS (PRINT)
POST CODE _. oo. (PRINT)
TEL NO
YEAR OF QUALIFICATION TYP 5 OF HOSPITAL (15)
(12) (13) Privete for profit 1
1 9 Prvzte not for profit 2
(16)
REGIONS (14) Teac ung 4
CT,ME,MA,NH,VT,RI 1 Non-eaching 2
NULNY,PA 2
LIN, MIL,QH,WI 3 HOSPITAL BED SIZE
e 1A,KS,MN,MO,NE,ND,SD 4 (17) (18) (19) (20)
DE,DC,FLGAME,NC,SC.VAWV 5 |. |
AL,KY,MS,TN, 6 (21)
AR,LA,OK,TX 7 Don't know Vv
AZ,CO,ID,MT,NV,NM,UT,WY 8
CA,OR,WA 9 GRAC E OF RESPONDENT/TITLE
(22)
Specity x
COLUMNS (23)-(64) BLANK

a
67) (68) 69) (70 1 3) (74)
TIME STARTED DATE OF INTERVIEW eT CT 9]8 .
Ou
a
TIME FINISHED INTERVIEWED BY

ouo (0) 1 2 #3 4 #5 6 7 8 8 O xX V¥
RESPONDENT SIGNATURE FOR FEE. INTERVIEWER SIGNATURE.

(signature) {signature}
THIS INTERVIEW HAS BEEN CONDUCTED WITHIN THE TERMS OUTLINED BYTHE MRS CODE OF CONDUCT

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03
No Question / Answer Code Sko s
Qi | Approximately how many haemophiha patients in total (ie A and B) are
treated at this centre?
(12) (13) (14) = (15)
L | ft tC (18)
Don't know Vv
!
Q2_ | For approouamately how many haemophiha patients are you personally currently i
responsible?
(17) (18) _~—(19)
(20)
Don’t know Vv
None personally/shared responsibility x
|
Q3_ | Of the ictal number of hasmophilia patents, what percentage have haemophilia A
and what percentage have haemophila B?
i) Haemophila A
21) @ @& ,
Lf | 4% (24)
Don't know Vv
1) Haemophiha B '
(25) (6) (2”) 128
| | | % None Cc
Don't know vo
RESPONDENT MUST HAVE HAEMOPHILIA A PATIENTS (SEE
SCREENER)
ENSURE TOTAL EQUALS 100%
|
EXPLAIN TO THE RESPONDENT THAT THE REST OF THE '
QUESTIONNAIRE CONCENTRATES EXCLUSIVELY ON HAEMOPHILIA A |

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No. Question / Answer Code Skip to
Q4 | Thinking of all your haemophilia A patents, what percentage are adults and what
percentage are pastiatncs?
1) Adults
(29) (30)_~—(81) '(32)
| | | j % None Oo
Don't know Vv
ti) Paediatnes
(33) ~=—(34)_~— (35) (36)
| | | | % None oO
Don't know Vv
ENSURE TOTAL EQUALS 100%
Q5 | Thinksng o! all your haemophilia A patients, what percentage are mild, \hat
percentage are moderate and what percentage are severe?
1) Mild
(37) (88) (89) (40)
[ || 41% None O
Don't know Vv
il) Moderate
(47) 42) — (43) (44)
| 1% None o
on't know Vv
hi) Severe
. (45) (46) (47) (48)
| | | | % None Oo
Con’t know Vv
ENSURE TOTAL EQUALS 100%
QS | Thinkong of all your haemophila A pabents, what percentage currently use
recombinan Factor Vill products and what percentage use human plasir a denved
Factor VIll products?
i) Recombinant
(49) 0) ~~)
L | | 4% (62)
. Con't know Vv
ii) Human plasma
63) 64) 6&5) (66)
| i; | 1% None oO
Don't know Vv
RESPONDENT MUST HAVE PATIENTS ON RECOMBINANT PRODUCTS
(SEE SCREENER)
ENSURE TOTAL EQUALS NUMBER 100%
~
Page 3 of 1¢

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o-4 REPEAT
No Question / Answer Cece Sar c
Q7a | Which specific brands of Factor Vill products do you currently prescnbe in your
pahents (both recombinant and human plasma denved products)? |
Q7b | What percentage of all your patients currently use(_ productfromQ7a_ =) |
ASK FOR EACH BRAND NAMED AT Q7a
ENSURE TOTAL EQUALS 100%
Q7a Q7b
Usage Percentage of patients
Recombinant , |
(12) (17) (18) (19
Biociate 1 / | | % {2c\
Don’t know Vv
21) (22) (28 |
Helhxate 2 % (24) |
Don’t know Vv
26) (2 |
Kogenate 3 t % (28
Don* know Vv
29 30 31 ,
Recombinate 4 % '90\
Don’t know Vv
33 34 35
Refacto 5 % 23)
Don’t know Vv
Human plasma
(13) 3 38) 39
Alphanate 1 ee c
Don't kno.r ,
COLUMNS 3*- 48 ELAN
, (49) (50) (51) ,
Humate-P 7 { | { | % - (52
Don’t know | V
53 54 55)
Hemofil M 9 % | (ES
Dontknow;, . Vo,
58) 59’ |
Koate DVI Vv % (68C}
Don't krow | Vv
(14) 61) (62) (63
Monare M 2 % (84,
Don't know Vv
66) 6
Monoclate-P 3 % | (88
Don’t know Vv
(15) (69) (70) (71) |
Other (specify) x | | % 72)
Don't know Vf
(16) (73) (74) (75)
x j 1 1% Gé 3
Dont know I ov

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lee
No Question / Answer Code Skip to
Q8 | What factors influence the choice of Factor VII treatment for haerrophilia A
patients?
PROBE FULLY (12)
Recombinant vs human plas na-denved 1
Well-established/stand 2rd product 2
Albumin/prot2in content 3 '
Efficacy/rest onse rates 4
Duration of eff sct/half life 5 -
Speed of response/effect 6 }
Safety (uispecihied) 7 !
Lack of adverse "eactions 8
Lack of album n reaction 9
Lack of (viral) con amination 0
Lack of immunity/resistance/lack of inhibitor de relopment x
Range of potencies/vial sizes V
(13)
Diluentintusior volume 1
Storage (refngeration vs room termperature) 2
Shelf-life 3
Supply/evailability 4
Delivery to patie it’s home 5
Manufacturer (e g reputaton/involvement in haemophilia) 6
(Good) relationship with the manufacturer 7
Ease of recc stitution 8
Speed of reccnsttution 9
Ease of adm.nistration oO
Cost xX
(14)
(15)
(16)
(17)
Other (please specify) Xx
Den't know Vv
Page 5 of 10

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Question / Answer Goce I &<r c |

No
Q9_ | How satished are you with the currently available recombinant Factor VIII |
Products? Would you say you were

SHOW CARD 1 (18) y
Very dissatisfied i 6

Fairly dissatisfied 2

Neither satisfied nor dissatisfied 3
Fairly satisfied 4

Very satisfied 5

Don't know Vv

Q10 | What improvements would you like to see made to recombinant Factor VIII
products? ae |

PROBE FULLY Reduced use of albumin/pro*ein
Improved efficacy/response

Longer lasting effect/ionger hall-life

Improved speed of response/effect

Improved safety (unspecified)

Fewer adverse reactions

Reduced/no albumin reaction

Reduced/no (viral) contamination

Reduced immunrty/resistance/inhibitor development
Higher potencies/larger vial sizes

2

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-

Reduced volume of diluent/infusion
Indication for continuous infusion

Improved storage (-efngeration not required)
Longer shelf-Ine

Improved supply/availability

Clearer storage instructions

Improved packaging/iess wastage of ancillary products
Improved/easier reconstitution

Faster reconstitutron

Improved/easier administration

Reduced cost

rR &® N

Nx oOo © MN © UF

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,

[ (22) | 23)

(24)
Other (please speci*y) x !

Dontknow| Vo! 6

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No

Question / Answer

Code

Skip to

HAND DOCTOR SHOW CARD A

THIS CARD LISTS SEVERAL FEATURES ON WHICH PCTENTIAL NEW
RECOMBINANT PRODUCTS FOR HAEMOPHILIA A MIGHT DI-FER PLEASE

TAKE A FEW MINUTES TO READ OVER THE FEATURES AND “HEIR VARIOUS
LEVELS, AS THIS INFORMATION WILL MAKE THE FOLLOWING EXERCISE
RUN MORE SMOOTHLY

ALLOW RESPONDENT TIME TO READ ALL INFORMATION ON THE CARD

| HAVE HERE 32 CARDS, EACH DESCRIBING A POTENTIAL RECOMBINANT
FACTOR Viit PRODUCT WITH A UNIQUE COMBINATION OF FEATURES NO
TWO CAFIDS ARE EXACTLY THE SAME FOR THE PURFOSE OF THIS
EXERCISE, PLEASE IMAGINE THAT THESE 32 POTENTIAL PRODUCTS ARE
THE ONLY ONES AVAILABLE FOR THE TREATMENT OF HAEMOPHILIA A

HAND DOCTOR SHUFFLED CARDS

CONSIDERING. YOUR PATIENTS WITH HAEMOPHILIA A, LEASE SORT
THESE 32 POTENTIAL PRODUCTS INTO ACCORD NG TO YOUR
LIKELIHOOD TC PRESCRIBE THEM ONE PILE SHOULD CCNTAIN THOSE
PRODUCTS THAT YOU WOULD BE MOST LIKELY TO USE ONE THOSE
PRODUCTS THAT YOU MIGHT CONSIDER USING AND ONE THOSE
PRODUCTS THAT YOU WOULD BE LEAST LIKELY TO USE YOU CAN HAVE
ANY NUMBER OF CARDS IN EACH OF THE 3 PILES

ASSUME THESE PRODUCTS ARE EQUAL ON ANY FEATURES THAT ARE NOT
INCLUDED ON THE CARDS

THIS IS A VERY IMPORTANT PART OF THE STUDY PLEASI? TAKE YOUR
TIME AS WE REALISE THIS TASK REQUIRES CAREFUL CONSIDERATION

WAIT UNTIL THE DOCTOR HAS SORTED ALL THE CARDS INTO THREE
PILES, THEN CONTINUE

| WOULD NOW LIKE YOU TO RANK THESE 32 CARDS FROM TOP TO
BOTTOM, STARTING WITH THE PRODUCT YOU ARE MOST LIKELY TO
PRESCRIBE FOR HAEMOPHILIA A ON THE TOP, THROLGH TO THE
PRODUCT YOU ARE LEAST LIKELY TO PRESCRIBE ON THE BO" TOM

PLEASE BEGIN BY RANKING THESE PRODUCTS IN THE “MOST .IKELY” PILE

AFTER “MOST LIKELY” PILE IS RANKED, ASK THE DOCTOR 10 CONTINUE
WITH THE PILE OF PRODUCTS HE/SHE “MIGHT PRESCRIBE” AND THEN
FINALLY RANK THE “LEAST LIKELY” PILE

ONCE THE DOCTOR HAS FINISHED SAY

PLEASE READ OUT THE NUMBERS OF THE CARDS IN THE ORDER YOU
HAVE ARRANGED THEM THE FIRST NUMBER YOU READ OUT SHOULD BE
THE PRODUCT YOU ARE MOST LIKELY TO PRESCRIBE AND THE LAST
NUMBER YOU READ OUT SHOULD BE THE PRODUCT YOU ARE LEAST
LIKELY TO PRESCRIBE

RECORD RESPONSES ON NEXT PAGE

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_ nie 3—**
WRITE IN EACH NUMBER IN THE APPROPRIATE COLUMN BELOW 88 Stee
RANK eo RANK CARD NUMBER
(12) (44) (4d) (8)
1 (MOST LIKELY) 17 | ©
(14) (15) (46) «(27
2 : 18
(18) (17) (48) 28
3 19 i
(18) (19) (50) (51)
4 20 !
(20) (21) (52 (53
5 21
(22) (23) (54) (55,
6 22 |
(24) = (25) (56) (57
7 23 [
(26) __ (27) (58) 152
8 24
(28) (29) (60) (5*
9 25 @
(30) Bn) 62) (63)
10 26
eo _& (64) tS
iW 27
(34) = (85) (66) (67)
12 28 |
(38) = (87) _ (68) (69)
13 29 | i
(38) (39) (70) 73
14 30
(40) __(41) _(72)__ (73)
15 31
42) (43) _@4) 75
16 92 (LEAST LIKELY)

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125

(3}-(41)
07 REPEAT
No Question / Answer Code Skip to
Qii | Considenng the potental product that you ranked as the one you would be
most interested tn using, what are your reasons for ranking It first?
PROBE FULLY
(12)
(13)
'
|
(14) |
012 | Considenng the potential product that you ranked ae the one you wo sid be |
most likely to use, how interested would you be in using it in the haernophilia
A pahents treated at this centre? Would you say you were
SHOW CARD 2 (15)
Not at all nterested 1
Not very interested | 2
Nerther interested nor disinterested 3
Fairly interested 4
Very ! iterested 5
Don't know Vv
Q13 | Considenng the potental product that you ranked as the one you wou d be
most hkely to use, would you be willing to advocate paying a pnce premium
for that product? (16)
Yes 1 Q14
No 2 THANK
} ' AND
Den't know V CLOSE
Q14 | What percentage price increase over currently available recombinant proc ucts
would you consider to be acceptable?
7) (18) (19) (20)
} j | % 1epends X ts
enter percentage Den't know Vv THANK
GO TO Q16 IF ‘DEPENDS’, OTHERWISE THANK AND CLOSE Chose
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No Question / Answer Cede S<c s
Q15 | On what would the acceptable level of pnce increase depend?
PROBE FULLY
(21,
(22)
23)
THANK AND CLOSE

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Version 3 (Final) | | L 7
23™ November 1999 cc V No ‘Country —_Senal Ps
INTERNATIONAL HEALTH SURVEYS, LUDGATE HOUSE, 245 BLACKFRIARS ROAD, LONDON SE1 SUL
RECOMBINANT FACTOR Vill POSITIONING STUDY
@ PHYSICIAN QUESTIONNAIRE — JAPAN
PHYSICIAN NAME (PRINT)
CENTRE NAME {PRINT)
ADDRESS (PRINT)
POST CODE (PRINT)
TEL NO
YEAR OF QUALIFICATION TYP = OF HOSPITAL (15)
(12) (13) Publ c 1
1 9 Prvéte 2
(16)
REGION (14) Teacting 1
Tokyo 1 Non- eaching 2
Tokar 2
HOS °ITAL BED SIZE
(17) (18) (19) ~— (20)
t
(21)
Don’t know Vv
GRADE OF RESPONDENT
(22)
Const tant 1
Specialist Registrar 2
COLUMNS (23)-(64) BLANK
. f
TIME STARTED DATE OF INTERVIEW i 3] 9
OU
6 8) (79
TIME FINISHED INTERVIEWED BY

ovo (sx) 1 2 3 4 5 6 7 8 § OX V
RESPONDENT SIGNATURE FOR FEE. INTERVIEWER SIGNATURE.

(signature) (signature)
_THIS INTERVIEW HAS BEEN CONDUCTED WITHIN THE TERMS OUTLINEL) BYTHE MAS CODE OF CONDUCT

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EXPLAIN TO THE RESPONDENT THAT THE REST OF THE

(2) 3"*
03. | REPEA-
No Question / Answer Code =! Sess
Q1_ | Approximately how many haemophilia patients in total (1 e A and B) are I
treated at this centre?
!
(2) (13) (14) (18) ©
L | Ld (ie) |
Don't know Vv
I
Q2_ | For approxmately how many haemophilia patents are you personally currently
responsible?
(17) ((18)_—(19)
_| (20)
Don't know Vv
None personally/shared responsibility xX
Q3 =} Of the total number of haemophiha patients, what percentage have haemophilia A
and what percentage have haemophilia B?
) Haemophika A
(21) (22) ©@3) !
Lf [ * {% (24)
: Don't know Vv
1) Haemophilia B
. (25) (26) 7” | 28
{ | | % _ Nene Cc
Don't krow v e
RESPONDENT MUST HAVE HAEMOPHILIA A PATIENTS (SEE | '
SCREENER) |
ENSURE TOTAL EQUALS 100%

QUESTIONNAIRE CONCENTRATES EXCLUSIVELY ON HAEMOPHILIA A

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No

aN

Question / Answer Gode Skip to
Q4 | Thinking of all your haemophilia A patients, what percentage are adults and what
percentage are paediaincs? ,
i) Adults !
9) (0) 31) (82)
i 4 | 1% None oO
Don't know Vv
n) Paedizincs
3) —-@4)_—s (85) -- (96)
| | | | % None 0
- Don’t know Vv
ENSURE TOTAL EQUALS 100%
Q5 | Thinking o! all your haemophilia A patents, what percentage are mild, vhat
percentage are moderate and what percentage are severe?
i) Mid i
(7) __(38)_—«89) (40) |
{ | 1 | % None oO
Don't know Vv \
i) Moderate
(41) (42) ~—(49) (44)
j { | | % None o-
Don't know Vv ‘
m1) Severe '
5) (46) (40) (48) |
[ | | | % None oO
. ['cn’t know Vv
ENSURE TOTAL EQUALS 100%
Q6 | Thinking of all your haemophilia A patients, what percentage currently use
recombinant Factor Vill products and what percentage use human plasria denved
Factor Vill prockucts?
i) Recombmant
(49) (60) ~~ 1)
tL | [3% (62)
Don't know Vv
4) Human plasma -
63) 64) 5) (56)
tj ft % None} =O
Don't know Vv
RESPONDENT MUST HAVE PATIENTS ON RECOMBINANT PRODUCTS
(SEE SCREENER)
ENSURE TOTAL EQUALS NUMBER 100%
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3 a"
04 REPS.
No Question / Answer Cede S<c t 4
Q7a_ | Which specific brands of Factor VII products do you currently prescribe in your '
patients (both recombinant and human plasma denved products)?
Q7b | What percentage of all your patients currently use( = product from Q7a ss) ©
ASK FOR EACH BRAND NAMED AT Q7a
ENSURE TOTAL EQUALS 100%
Q7a Q7b
Usage Percentage of patients
Recombinant . - COLUMNS (17-24 81.4<
(12) _(25) (26) (27) i
Kogenate 3 ' | } 4% 128)
Don't know Vv
29) (30) (31) }
Recombinate 4 | [| % | 2)
Dont krow
Human plasma COLUMAS 32-42 5_A4%
(13) (41) (42) (43)
Contact F 3 | | | 4% tak
~ Dontxrovs * .
(45) (48) (47) |
Crosseight M 4 | j |} | % (48)
Don't know v |
_(49) (50) (51) |
Haemate P 7 } | | 1% £52
Dor't Krorr i ©
(53) (54) (55)
Haemofil M 9 } | } | % | 8h
COLUMN (14) BLANK Don’t know { vo,
COLUMNS (57)-(88) Bo-\<
(15) (69) _(70)__(71) fo 4
Other (specify) Xx | | |} | % + (72) +
Don't krow ¥
(16) _{73) (74) _ _ (75)
Xx | | | % ey |
Don't know Y |
|

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